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EXHIBIT W
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

VOLUME IT
IN RE: PHARMACEUTICAL : MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE : CIVIL ACTION:
PRICE LITIGATION > O1-CV-12257-PBS

THIS DOCUMENT RELATES TO
U.S. ex rel. Ven-A-Care of
the Florida Keys, Inc. v.
Abbott Laboratories, Inc.

No. 06-CV-11337-PBS

Continuation of the videotaped
deposition of ROBERT VITO was taken, pursuant
to notice, at MORGAN LEWIS & BOCKIUS, LLP,
1701 Market Street, Philadelphia,
Pennsylvania, on Wednesday, June 20, 2007,
beginning at 8:43 a.m., before M. Kathleen
Muino, Professional Shorthand Reporter, Notary
Public; Michael Hunterton, Certified Legal

Video Specialist, there being present:

Vito, Robert 6-20-2007

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paper files from that 1997 report.
A. I said I -- I -- I was aware of it. I
don't know exactly when I became aware of it.
Q. Earlier I -- I believe you testified
that your best recollection is that you think you

learned about the qui tam case two or three years

ago?
A. I --
MR. NEAL: Objection as to form.
THE WITNESS: I -- I -- I think -- I
think that that was not -- if you go back and look,

I think I said that I believe I remember that an
investigator called me about it some time ago and I
didn't know the exact date of that.

BY MR. TORBORG:

Q. What about the information from
Ven-A-Care -- that Ven-A-Care provided was
confidential?

A. Well, I -- they gave us pricing
information from various sources and we -- before
any pricing information is given out, we have to

check to make sure that it's not treated as

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proprietary information by the -- by the companies.
Q. And was -- was it just catalogs that

they provided you?

A. They gave us catalogs as well as
sometimes they had faxes in which they would call
the company and ask the company to provide them
with the most current price. They also had price
specials that were being advertised to them and
they would share that with us as well. There are
multiple different ways that we obtained the
pricing. We also had access to a couple of their,
such as Florida Infusion and other places.

Q. One last document for today and then
we'll -- we'll wrap up.

Exhibit Abbott 054 bears the Bates Nos.
HHD009-0150. It appears to be an article from
Eli's Home Care Week.

And, Mr. Vito, I believe this was a document
that, again, was contained in the working paper
files for that 1997 report.

A. Either that or my own files.

Q. Okay. Do you recall this document?

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